Case 1:17-mc-00151-LPS Document 1-1 Filed 06/19/17 Page 1 of 1 PagelID #: 2

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
District of Columbia

CRYSTALLEX INTERNATIONAL CORPORATION

Plaintiff —
¥.
BOLIVARIAN REPUBLIC OF VENEZUELA
Defendant

Civil Action No. 16-0661 (RC)

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CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) __ 04/07/2017

| also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending, See attached Order dated 06/09/2017.

pace 6¢LYP
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CLERK OF COURT

Meda Xk Dubey

Signature of Clerk or ep
